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           IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE


 36 BUILDERS, INC., a Delaware                       *
 corporation, doing business as INSIGHT              *
 HOMES, and INSIGHT                                  *
 LAND COMPANY, LLC, a Delaware                       *
 limited liability company,                          *
                                                     * CASE NO. 2020-0861-MTZ
 Plaintiffs,                                         *
                        v.                           *
                                                     *
 JACK HUTCHINS HAESE                                 *
                                                     *
                    Defendant,                       *
                                                     *


                     NOTICE OF FILING OF NOTICE OF REMOVAL

To:    Joseph C. Schoell, Esquire (I.D. No. 3133)
       Faegre Drinker Biddle & Reath LLP
       222 Delaware Avenue; Ste 1410
       Wilmington, DE 19801
       302-467-4200

               PLEASE TAKE NOTICE that on the 8th day of December 2020, the attached

Notice of Removal of the above-captioned action from the Court of Chancery of the State of

Delaware was filed with the Clerk of the United States District Court for the District of

Delaware, thereby effecting the removal of the action from the Court of Chancery and

prohibiting further proceedings in the Court of Chancery in accordance with the provisions of 28

U.S.C. § 1132, 1441, and 1446.

                                                     Respectfully Submitted,

                                                     /s/ Stephen P. Norman
                                                     Stephen P. Norman, Esquire, Bar No. 4620
                                                     The Norman Law Firm
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                                                     Attorney for Defendant
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DATE: December 8, 2020
